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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MONSTER ENERGY COMPANY,
                                                    Case No. 19-cv-00551
               Plaintiff,
                                                    Judge Jorge L. Alonso
v.
                                                    Magistrate Judge Young B. Kim
ZUICHUDESECAI, et al.,

               Defendants.


                  PLAINTIFF MONSTER ENERGY COMPANY’S
              RESPONSE TO DEFENDANT’S MOTION FOR EXTENSION

       Plaintiff Monster Energy Company (“MEC”) hereby provides the following response to

Defendant Vaporever Biotech (Huizhou) Co., Limited’s (“Defendant”) Motion for Extension

[37]. Plaintiff provided Defendant’s counsel with screenshot evidence confirming Defendant’s

infringement via email on February 13, 2019. Plaintiff confirmed Defendant’s number on

Schedule A (which is still under seal) via email on February 14, 2019.

       Plaintiff’s counsel did not yet respond to multiple voicemails left on February 18, 2019

since Plaintiff’s counsel’s office was closed in observance of Presidents’ Day and since

Defendant has not been served. Regardless, Plaintiff does not object to providing Defendant

thirty days to answer, or until March 21, 2019.
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Dated this 19th day of February 2019.   Respectfully submitted,

                                        /s/ Justin R. Gaudio
                                        Amy C. Ziegler
                                        Justin R. Gaudio
                                        Allyson M. Martin
                                        Abby M. Neu
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                                        Counsel for Plaintiff Monster Energy Company




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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 19th day of February 2019, I will electronically file the

foregoing with the Clerk of the Court using the CM/ECF system. The CM/ECF system will send

a “Notice of E-Filing” to attorneys of record.


                                             /s/ Justin R. Gaudio
                                             Amy C. Ziegler
                                             Justin R. Gaudio
                                             Allyson M. Martin
                                             Abby M. Neu
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                                             Counsel for Plaintiff Monster Energy Company




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